Case 3:24-cv-03217-K-BN     Document 18     Filed 03/25/25   Page 1 of 1    PageID 157



                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

 MICHAEL BRANDON-ELZIE NELSON, §
 #23012250,                    §
                               §
            Plaintiff,         §
                               §
 V.                            §                     No. 3:24-cv-3217-K
                               §
 GREG ABBOTT ET AL.,           §
                               §
            Defendants.        §

        ORDER ADOPTING FINDINGS, CONCLUSIONS, AND
   RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions, and a

 recommendation in this case. No objections were filed. The District Court reviewed

 the proposed findings, conclusions, and recommendation for plain error. Finding none,

 the Court ADOPTS the Findings, Conclusions, and Recommendation of the United

 States Magistrate Judge.

       SO ORDERED.

       Signed March 25th, 2025.


                                              ED KINKEADE
                                              UNITED STATES DISTRICT JUDGE
